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EXHIBIT-A

CERTIFICATE OF LAST KNOWN MAILING ADDRESS

I, (name) Dipakkumar (Dipak) P Pravin, hereby certify that based upon a review of
records in my/our possession and the records found in the public domain, the last known mailing

address of (Defendant 1) Sidhartha Mukherjee is 3905 Kite Meadow Drive Plano, TX 75074.

Sincerely, [ \

|
~ | 5 ;
4 4 Ox J : A a
Signature: dD _ae CL, XN HAN 7
Name: Dipakkumar (Dipak) P Pravin

I, (name) Dipakkumar (Dipak) P Pravin hereby certify that based upon a review of
records in my/our possession and the records found in the public domain, the last known mailing

address of (Defendant 2) Sunita Mukherjee is 3905 Kite Meadow Drive Plano, TX 75074.

Sincerely, f )

DW Wak
i AL \ \ wt Ault y-
Signature: Dd [- OM har A) .
Name: Dipakkumar (Dipak) P Pravin
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EXHIBIT-B
Military Status Affidavit

I, Dipakkumar (Dipak) P Pravin, hereby certify that [ have known (Defendant 1)
Sidhartha Mukherjee personally for five years and he has never given any indication to me that

he is in service with the United States military or National Guard.

Sincerely, [ )

‘) He TN, Lunn

Signature:
Name: Dipakkumar (Dipak) P Pravin

I, Dipakkumar (Dipak) P Pravin, hereby certify that I have known (Defendant 2) Sunita
Mukherjee personally for five years and she has never given any indication to me that she is in

service with the United States military or National Guard.

Sincerely,

}
hye L
Signature: D Yee) cus Voy)

Name: Dipakkumar (Dipak) P Pravin
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EXHIBIT-C

=P ees} | el = Ci
eM Lp 4 At P| Mk

250 OOO1 2443 3482
P90 OO01 2463 3499

10:52 GM a HOw Ry ff 10:52 @ 0G ° as WOK £40
X V8 cup ALE x se OE AE
Tracking Number: Hemove %
‘ . Remove X
702012900001 24633482 Tracking Number:
70201 290000124633499

DO Copy * Add to Informed Delivery

- Copy

ae Acid to Informed Delivery

Latest Update

Latest Update
Your item was delivered to an individual at
the address at 2:38 pm on May 6, 2024 in
PLANO, TX 75074.

Your item was delivered to an individual at
the address at 2:38 pm on May 6, 2024 in
PLANO, TX 75074,

Get More Out of USPS Tracking:

& USPS Tracking Plus” Get More Out of USPS Tracking:

(8 USPS Tracking Plus®

® Delivered

Delivered, Left with Individual
PLANO, TX #5074

May 6, 2024, 2:38 pm

® Delivered
Delivered, Left with Individual

PLANO, TX 75074
May 6, 2024, 2:38 pm

» Out for Delivery

PLANO, TX 78074
May 6, 2024, 6:22 arn

®@ Out for Delivery

PLANO, TX 75074
May 6, 2024, 6:21 am

> Arrived at Post Office

PLANO, TX 75074
May 6, 2024, 6:17 am

» Arrived at Post Office

PLANO, TX 75074
May 6, 2024, 6:10am

® Arrived at USPS Facility

Desc Exhibit

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EXHIBIT-D
Defendants’ Competence Status Affidavit

1, Dipakkumar (Dipak) P Pravin, hereby certify that 1 have known (Defendant 1)
Sidhartha Mukherjee personally for over five years and based on my interactions and general

knowledge I do not believe that he is incompetent.

I, Dipakkumar (Dipak) P Pravin, hereby certify that | have known (Defendant 2) Sunita
Mukherjee personally for over five years and based on my interactions and general knowledge I

do not believe that she is incompetent.

Sincerely, ()

Pe st. & )
Oy J nN,
Signature: D Pe _Arcun
Name: Dipakkumar (Dipak) P Pravin
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EXHIBIT-E

First short-term borrowing contracts for $25,000/- signed by
Sidhartha Mukherjee on March 26,2021 to be repaid with principal
and interest @2.5% per month.

INVESTMENT CONTRACT

This Investment Contract (the "Contract" or "Agreement") is made
as of date March 26, 2021 (the "Effective Date") by and

BETWEEN
Dipakkumar P Pravin, 7432 Bradford Pear Dr, Irving TX-75063
AND

Dallas Creative Remodelers having registered office at 9221
Amberton PKWY, Dallas TX-75243 & located at 3905 Kite Meadow Drive,
Plano TX-75074 is represented by Sidhartha Mukherjee

Dallas Creative Remodelers has obtained Contract for providing
various construction services to various Government Organizations
& desires to invite investment from Dipakkumar P Pravin in order
to start execution of the said construction jobs.

THEREFORE, in consideration of the mutual promises set forth below,
the Parties agree as follows:

DESCRIPTION OF TRANSACTION

Dipakkumar P Pravin will invest $25,000 (USD Twenty five
Thousand) with Dallas Creative Remodelers as a short term loan
on March 26, 2021 in the Bank account of Dallas Creative
Remodelers for a period of 4 months. Dallas Creative
Remodelers will use these funds towards execution of various
Construction jobs mentioned above. After completion cf 4
months Dallas Creative Remodelers will return the Investment
of $25,000 (USD Twenty five Thousand)to Dipakkumar P Pravin.
Dallas Creative Remodelers will also pay a monthly fixed
Return on Investment @2.5% on the principal amount of $25,000
to Dipakkumar P Pravin totaling to $27,500. All the
transaction will be done through Bank.

INVESTOR: Dipakkumar P Pravin

By: Difoceben frsaioy : March 26, 2021

-—

CONTRACTOR: Dallas Creative Remodelers

Sidhartha Mukherjee Authorized signatory

By: oadttarthia Wluathorgoe Date: March 26, 2021
v

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EXHIBIT-F

Second short term borrowing contracts for $30,000/- signed by
Sidhartha Mukherjee on June 29,2021 to be repaid with principal
and interest (@2.5% per month.

INVESTMENT CONTRACT

This Investment Contract (the "Contract" or “Agreement") is made
as ef date June 29, 2021 (the "Effective Date") by and

Dipakkumar P Pravin, /432 Braaftord Pear Dr, Irving TX-7/5063
AND

Dallas Creative Remodelers having registered office at 49221
Amberton PEWY, Dallas TK-/5243 @ 1

ocated at 3905 Kite Meadow Drive,
Plano TX-75074 is represented by Sidhartha Mukherjee

Dallas Creative Remodelers has obtained Contract for praviding
various construction services to various Government Organizations
& desires to invite investment from Dipakkumar P Pravin in order
to start execution of the said construction jobs.

TEEREFOCRE, in consideration of the mutual promises set forth below,
the Parties agree as follows:

DESCRIPTION OF TRANSACTION

Dipakkumar P Pravin will invest $30,000 (USD Thirty
Thousand) with Dallas Creative Remodelers as a short term
loan on June 29, 2021 in the Bank acrount of Dallas
Creative Remodelers for 2 period of 4 Weeks. Dallas
Creative Remodelers will use these funds towards execution
of various Construction jobs mentioned above. After
completicn of 4 weeks Dallas Creative Remodelers will
return the Investment of $30,000 (USD Thirty Thousand)tea
Dipakkumar P Pravin. Dallas Creative Remodelers will also
pay 2& fixed Return on Investment @2.5% on the principal
amount cf 530,000 to Dipakkumar P Pravin totaling to
$39,750. All the transaction will be done through Bank.

INVESTOR; Dipakkumar P Pravin

By: Date : June 29, 2021

CONTRACTOR: Dallas Creative Remodelers

Sidhartha Mukherjee Authorized signatory

By: Sufartha Whukhorzes Date: June 29, 2021
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EXHIBIT-G

Calculations showing original principal amounts ($55,000/-) plus
subsequently accrued interests ($48,625.00) per the two contracts
which totals to ($103,625.00).

Due from Monthy Due From Monthy
Loan 25K Fixed Intrest Loan 30K Fixed Intrest
Month-Due Mar-26-21 25K Loan Jun-29-2021 30K Loan
Jul-26-2021 $27,500 5625 $30,750 $750
Aug-26-2021 $28,125 $625 $31,500 $750
Sep-26-2021 $28,750 5625 532,250 S750
Oct-26-2021 $29,375 5625 $33,000 $750
Nov-?6-2021 $30,000 $625 $33,750 5750
Dec-26-2021 $30,625 $625 $34,500 $750
Jan-26-2022 $31,250 $625 $35,250 $750
Feb-26-2022 531,875 $625 $36,000 $750
Mar-26-2022 $32,500 $625 $36,750 $750
Apr-26-2022 $33,125 $625 $37,500 $750
May-26-2022 $33,750 5625 $38,250 $750
Jun-26-2022 $34,375 $625 $39,000 $750
Jul-26-2022 $35,000 $625 $39,750 $750
Aug-26-2022 $35,625 5625 $40,500 $750
Sep-26-2022 $36,250 $625 $41,250 S750
Oct-26-2022 $36,875 $625 $42,000 5750
Nov-26-2022 $37,500 $625 $42,750 $750
Dec-26-2022 $38,125 $625 $43,500 $750
Jan-26-2023 $38,750 $625 $44,250 $750
Feb-26-2023 $39,375 $625 545,000 $750
Mar-26-2023 $40,000 5625 $45,750 $750
Apr-26-2023 $40,625 $625 546,500 $750
May-26-2023 $41,250 $625 $47,250 $750
Jun-26-2022 $41,875 $625 $48,000 $750
Jul-26-2023 $42,500 $625 $48,750 $750
Aug-26-2023 $43,125 $625 $49,500 $750
Sep-26-2023 $43,750 $625 $50,250 $750
Oct-26-2023 $44,375 $625 $51,000 $750
Nov-26-2023 $45,000 $625 $51,750 $750
Dec-26-2023 $45,625 $625 $52,500 $750
Jan-26-2024 $46,250 $625 $53,250 $750
Feb-26-2024 $46,875 $625 $54,000 $750
Mar-26-2024 547,500 $625 $54,750 $750
Apr-26-2024 $48,125 5625 $55,500 $750
Total Pro-
rated Due as
of
April-26-

2024 $103,625

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EXHIBIT-H

Two bounced checks each of $30,000/- signed by (Defendant-1)
Sidhartha Mukherjee with his hand-written note indicating to pay
interest at a later time. Neither of the checks ever cleared, one time
their business partner Venkata declined to pay on December 19,
2022. These two were hand delivered to me on November 7, 2022, by
his supervisor Chui at my home.

———

~ WELLS FARGO BANK 2004

(sev Fld 648 MURPHY, 1 TCO SartID
cATE

rad Vows __18/ 80, pend
Dol\ ores. eae

Sedjosks Vbiad

WELLS FARGO BANK =—2005

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EXHIBIT-I

Another bounced check of $39,000/- signed by (Defendant-1)
Sidhartha Mukherjee on April 12, 2023

CHASE © Questions?
& 800-935-9935

7610 W. Washington St., IN1-7202
Indianapolis IN 46231-7202

A beerdead eee al ded eet

GSTS TAP 201 ORD LOTES HARVANNPONN POO

DIPAK P PRAVIN

OR MINAKSHI D PRAVIN

7432 BAADFORD PEAR DRIVE

IRVING TX 75063 April 17, 2023
Account: 201 )oux 00020001 1393/0
Advice: 106915

Update: We're subtracting funds from your account above

Dear DIPAK P PRAVIN:
We received a check(s) previously deposited to your account that was returned to us as unpaid

Here's the reason for the returned check(s):

Return Reason Deposit Date Internal Seq# Amount

Refer to Maker 04/14/2023 99016836 $39,000.00
Please contact the person who

gave you the check for more

information.

1 Checks charged totaling: $39,000.00

We subtracted the check(s) amount from your account and enclosed a copy of the returned check(s),

*131900057"
OW/17/e023 oa = ‘

W9101b6 3b SIDHARTHA MUKHERJGE
3005 KITE MEADOW OR 9665

PLANO, TX 76074-7757 OL | 12. [2023 pesu/tito
pore yy t halk. Govt. | $ 29 00D oO

This is a LEGAL COPY of your

check, You can vie ft {he same

wity you would use tho orginal
oheck

RETURN REASON-S
REFER TO MAKER

rows A EA

5570964343
£C11L9000571 08/14/2023

Sedhada Wle-2a
be bOOOE dues a | | 6

i er

bk sOOOh bt: QPoces 0003900000"

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EXHIBIT-J

Attorney’s Fee Affidavit

@Wsram o-- 4 * XK

€ Back @& @ o> Archivo BY Move Ti Bolste

PayPal

www.paypal.com _

Payment recaipt from Joyce Lindauer Atlorney

ip ww.paypalcom
(? member@paypal.cam

dipakprayin@yahoo,com

Thank you.

75202
nD Bilin
Sako 21W Visa

iD Dipak Pravin
dipakprayinflyshoo.cam

$495.00 USD
$0.00 USD
$0,00 USD

Tolal $495,00 USD

Desc Exhibit

I, Dipakkumar (Dipak) P Pravin, hereby certify that I have paid to Joyce W Lindauer

Attorney the amount of $495.00 for the proof of claim representation in the defendants’ action

case number 23-41386. | have attached the snapshot of the receipt above.

Sincerely,

Signature: D ped hu WY

Name: Dipakkumar (Dipak) P Pravin
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EXHIBIT-K
Court filing fee receipt $350.00

for the adversary proceedings number 24-04025

E— An official ernail of the United States government

Your payment has been submitted to Pay.gov and the details are below.
If you have any questions regarding this payment, please contact
Finance Department at 903-590-3200 or
TXEBmI_Finance@txeb.uscourts.gov.

Application Name: TX Eastern Form Service
Pay.gov Tracking ID: 27E26BL3

Agency Tracking ID: 76707791877

Transaction Type: Sale

Transaction Date: 04/30/2024 01:29:36 PM EDT
Account Holder Name: Dipakkumar Pravin
Transaction Amount: $350.00

Card Type: Visa

Card Number: *******""*""01 47

Case Number: 24-04025

Debtor Name: SIDHARTHA MUKHERJEE AND SUNITA
MUKHERJEE

Payer Name: Dipakkumar P Pravin

Phone: (716) 830-6129

Email: DipakPravin@yahoo.com

Description: Filing Fee for case number 24-04025

THIS IS AN AUTOMATED MESSAGE. PLEASE DO NOT REPLY.

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EXHIBIT-L
The proposed form of judgment for execution by the Court

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF TEXAS

SHERMAN DIVISION
IN RE: §
§
Sidhartha Mukherjee § Case No. 23-41386
Sunita Mukherjee §
§
Debtors § Chapter 7
DIPAKKUMAR P. PRAVIN §
§
Plaintiff §
vy § Adversary No. 24-4025
§
SIDHARTHA MUKHERJEE §
SUNITA MUKHERJEE §
§
Defendants §

PROPOSED DEFAULT JUDGMENT UNDER FED. R. CTV. P. 35(b)(2)

ON THIS DATE the Court considered the “Motion” for Default Judgment filed on
July 16, 2024 by the Plaintiff, Dipakkumar P. Pravin, in the above-referenced
adversary proceeding and in response to this court’s order (dated 06/25/2024) for
the “ENTRY OF DEFAULT BY COURT” against Defendants, Sidhartha
Mukherjee and Sunita Mukherjee, pursuant to Fed. R. Civ. P. 55(a) which is

Applicable to this proceeding pursuant to Federal Rule of Bankruptcy Procedure
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7055. The Court finds that the Complaint in this proceeding was filed on April 30,
2024, and served upon Defendants, Sidhartha Mukherjee and Sunita Mukherjee, on
April 30, 2024. The Court further finds that such Defendants had failed to respond
to the Complaint in the manner and within the time period designated by the Federal

Rules of Bankruptcy Procedure. Accordingly,

Pursuant to Fed. R. Civ. P. 55(a) & (b)(2), IT IS HEREBY ORDERED, ADJUDGED,

AND DECREED that:

1. A Default Judgment is entered in favor of the Plaintiff Dipakkumar P. Pravin, and
against the Defendants Sidhartha Mukherjee and Sunita Mukherjee.
2. The Defendants are ordered to pay the Plaintiff the sum of $159,470.00 plus
a) post-judgment interest at the legal rate until the judgment is satisfied.
b) all taxable costs of court post judgement, and
c) all further relief to which plaintiff may be entitled, including all writs
necessary to facilitate enforcement and collection of the Court’s awarded
judgment.
3. This Court shall retain jurisdiction to enforce this Judgment and to enter in any further
orders necessary to effectuate its terms.
Si ged on

THE HONORABLE JOSHUA P. SEARCY
UNITED STATES BANKRUPTCY JUDGE
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EXHIBIT-M

WhatsApp messages with Defendant-1 between July 28, 2023, and
August 4, 2023, during which defendant-1 kept promising to pay
money. Their bankruptcy case 23-41386 was filed on July-31-2023

“ss Sammy

The bottom line at this lire is how much can you give me directly---this is
probably 7th time that some transfer happening fram somewhere lo you or
directly to me has failed

So Uthink | can only count on what you have now and you can give me now

First you told me they are going to do internal transter there io way internal

Internal transfer means trom one sister concern to another sister cancern,
different bank

This will be bola to bofa, so no walling time nay

But | thought they already had money right because when they did the
original transfer ta the Chase account they had the money which came back
and they were supposed to send it to me on BOFA And that money
disappeared like what has happened in the past!

We've been playing this game for along time send me | cannot take this kind
ol nonsense anymore

i you're not wanting to give money just say that, so we can stop playing
this game '

Bul tt ight hey already had money raht because when they did the original

i transfer to the Chase account they had the money which came back and the
edfosend it to me on BOFA And thal money disappeared like

They are a business account, multiple transactions happens. So they had
transferred again

How certain are you I'll gel money on Monday?

We've been playing (is game tora long time send met cannot take this kind of

} nonsense anymore
1 |f you're not wanting to give money just say that, so we n stop playlog this q

told you that | will pay your money, but your account details were not
correct, else money would have been in your account by naw

Yeah)... And if thal was the case it would have immediately rejected.. it
doesn't take 5 days before they find oul

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ses Sammy

B 4 '

| We've been playing this game for along time send mel cannot take this kind ot
) nonsense anymore

|

i

h i you're nol wanting to give money just say thal, sa we can stop playing this g

I told you that | will pay your money, but your account details were not
correct, else maney would have been in your account by now

Yeah,,.. And if thal was the case it would have immediately rejected. it
doesn't take 5 days before they find out.

As we both know such failures and bouncing checks have happened
multiple times,

i the money doesn't come on Monday from them what can you give it to me
on Monday?

Jul 31, 2023

Sammy

When can | expect the money transferred back into my account today?

You are not picking up the phone or responding with the text message, So
I'm not sure what's the point of leaving a voice message for you?

Please call back
Please wail dipak, let me conlirm to you
Waiting for 2 years

Il know ey

So please give me whatever you can give directly from you, This waiting on
your clients and someone else paying you something has not been working
out,

Lam depending on this payment as of now for you & me alsa. Let me confirm
to you

@ kK
Sammy

What's the update? i

it will be done tomorrow as the balance will clear overnite

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oe; Sammy

Sammy

What's the update?

It will be done tomorrow as (he balance will clear overnite

Sammy

Their fund has come to their bola account by ach transfer, Bul itis showing but
not yet available for use as it’s processing as high Velie

Monday It will clear & will be available in the morning

On Friday you said you will be there, So are you there today?

Gaing tomorrow morning as inspection moved far a day. | will get it done

Ok..

Sammy

Going tomorrow morning as inspection moved fora day. | will get it done

lam very much expecting this to happen on Tuesday Aug-01
Aug 1, 2023

Sammy

When is the transfer happening?

| just reached, got late as had flat tire. Give me an hour please 1

The persan concerned is not available to go ta bank today as | qot late.
Anyway, tam slaying over nite, will get it dane tamarrow morning

oe Do you know if that person will be available tomerraw?
way ’
; And they have funds for you?

He is here only only not available to fo to bank taday
And how about funds? 1

Aug 2, 2023

( Sammy
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eg) Sammy

He is here only only nol available to lo to bank laday
And how about lunds?

Aug 2, 2023

Sammy
The person concerned is not available to qo 16 bank today as! gol late, Anyway,
(am staying over nite, will gel i done tomorrow morning

Sammy

Please ensure the money gets transferred today
Sammy what is the status of the transfer?
Sammy

There has been no update today.
what is the status of the transfer?

farm meeting al bank around 3:30 pm, Will confirm ppt

Sammy

| have not received any money back? rt

| had gone to bank today with the owner, they need to maintain the balance
for a day more as their tine of credit facility is on approval stage

Lar here tomorrow too ., will get il done as [need the fund too for ongoing
work | nm

So you found this out at the bank, were you present when the discussion
happened? LPM

Yes, i was there only yoann

K ny

And that was Bank of America on their side and you will send me mone
bank to Bank of America right? & AOPM

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im
ve Sammy

So you found this out at the bank, were you present when the discussion
happened?

Yes, }was there only

K

And that was Bank of America on their side and you will send me money
bank to Bank of America right?

Aug 3, 2023

Hey Sammy, So this transfer is happening today right? From BofA to BofA?
Hey Sammy, so this transfer is happening today right? From Bold to BofA?

What's the status man? M
Waiting at bank for the customer will update
All right what is the status now?
Aug 4, 2023

Sammy, what happened yesterday?

| haven't received any money back trom you as you had promised,

Good Morning, please wait till 12pm G

Ok..
Sammy
So what's the story now? M
their line of creditis approved, just waiting for thal release on accaunt
fund. .., please wait, will confirm as part of fund will come tame too tar the
praject rM
Waiting

Sammy
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Exhibit-N

During Jan-05-2024 341 hearing, Mukherjees agreed that they have sent invoices to Dallas
Housing Authority (DHA), and they will provide to Trustee the copies of invoices that they had
sent to DHA, but they had not provided to the Trustee to the best of my knowledge.

The following messages show the conversation, about the 3 invoices (Invoice-DCR-RL-66.pdf,
Invoice-DCR-RL-67.pdf and Invoice-DCR-RL-68.pdf) provided to me on March 2, 2023, over
WhatsApp by the Defendant-1 claiming the money from the DHA will be used to pay me back.

The plaintiff is prepared to provide the 3 PDF files to the court to obtain a court order to
establish if these are valid invoices for DHA. The defendants did not meet their obligations
agreed to under oath to provide those to the trustee to prove those were legitimate invoices.

117 mo Bs & Ore aa
Aa
<% Sammy Oo

February 27, 2023

Good Morning Dipak, it seems

that the account title is still having
problem & credit is not cleared as got
the email now.

Anyway, | am going to bank to

clarify ... You can join me 1140,AM

Gmail - Fwd_ Multiple names
showing in the accounts.pdf
| page + 61 kB» POF

11:40 4M
Sure.

What time are you reaching the irving
branch? AM

same time at this address

4040 N MacArthur Blvd Ste 200,

Irving, TX 75038 14:54AM

vw

Ok | will be there at 1:00pr

© Message 0)

117 @ oO Be GOs Fnag
< Sammy Tm & :
Irving, TX 75038 HEA RRA

Ok | will be there at 1:00pm.

it will be 1:30 Dipak as you had

mentioned 11-57 AM
Ok sure will expect you at 1:30
But I'll be there early anyways
ok

} 1.59 AM

Abit of road construction near the
bank.... so try to take parallel road if
you can

Ok

1:06 PM
Gps showing 1:35 5 .ge py
Ok

| am inside the branch. ,
February 28, 2023

Sammy

©) Message Y

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117 & Os &@ Ort Frag 117 & OB oe GtRFrag
< Se Sammy Ck & : < Ges Sammy Oo &
Regards AM Invoice-DCR-RL-67.pdf

i page + 70 kB + PDF
Good Morning, sending in sometime.

11:27 AM
Was not able to sit on desk for last 2
days as was outallthetime 49 jy any March 3, 2023
K oa AM Thx Sammy.
sending you few Invoices What's the update from DHA?
11:27 AM a

They are uodating the vendor master,

oie will be authorized on monday — ¢.99 py

INVOICE Ok 6

Invoice-DCR-RL-68.pdf

l page + 70 kB + PDF

March 6, 2023
11:27 AM Sammy

What have you heard back from

ia: INVOICE

DHA?
Invoice-DCR-RL-66. pdf
1 page » 69 kB « PDF March 7, 2023
era Good Morning Dipak, they have
updated the vendot master yesterday
ell & waiting on authorization, They will

¥ release payment once authorized. | ¥
will update vou by tomorrow. -

vw © © ©) Message 0 © ©

